Case 2:10-md-02179-CJB-DPC Document 12440-7 Filed 03/03/14 Page 1 of 6

Liberty
Insurance
Underwriters Inc...

ay

(KS

LIBERTY INSURANCE UNDERWRITERS INC.
EXCESS LIABILITY POLICY

There are provisions in this policy that restrict coverage. Read the entire policy carefully to
determine rights, duties, and what is and is not covered.

Words and phrases in quotation marks have special meaning and can be found in the Definitions or
the specific policy provision where they appear.

In consideration of the payment of the premium and in reliance upon the statements in the
Declarations, and subject to all terms of this policy, we agree with you to provide coverage as
follows:

INSURING AGREEMENTS
I. COVERAGE

We will pay on behalf of the Insured “loss” that results from an occurrence during the
"policy period." We will pay "loss" in excess of the Underlying Insurance shown in Item 5.
of the Declarations, but only up to an amount not exceeding our Limits of Liability as shown
in Item 4. of the Declarations. Except for any definitions, terms, conditions and exclusions
of this policy, the coverage provided by this policy is subject to the terms and conditions of
the First Underlying Insurance Policy, as shown in Item 5. of the Declarations.

The inclusion or addition hereunder of more than one Insured shall not operate to increase
our Limits of Liability beyond that shown in Item 4. of the Declarations.

We will be furnished a complete copy of the First Underlying Insurance Policy described in
Item 5. of the Declarations.

I. LIMITS OF LIABILITY

A. The Limits of Liability shown in Item 4. of the Declarations and the rules below
describe the most we will pay regardless of the number of:

1. Insureds;
2. claims made or suits brought; or
3, persons or organizations making claims or bringing suits.

Page 1 of 6

0101-XS (Ed. 03-00)

Case 2:10-md-02179-CJB-DPC Document 12440-7 Filed 03/03/14 Page 2 of 6

B. The Limits of Liability of this policy will apply as follows:

1. This policy applies only in excess of the Underlying Insurance shown in Item
5. of the Declarations.

2. The aggregate limit shown in Item 4. of the Declarations is the most we will
pay for all “loss” that is subject to an aggregate limit provided by the First
Underlying Insurance Policy. The aggregate limit applies separately and in
the same manner as the aggregate limits provided by the First Underlying
Insurance Policy.

3, Subject to Paragraph B.2. above, the occurrence limit shown in Item 4. of the
Declarations is the most we will pay for all “loss” arising out of any one
occurrence to which this policy applies.

4, Subject to Paragraphs B.2. and B.3. above, ifthe limits of liability of the
Underlying Insurance shown in Item 5. of the Declarations are reduced or
exhausted solely by payment of “loss”, such insurance provided by this
policy will apply in excess of the reduced Underlying Insurance or, if all such
coverage is exhausted, will apply as underlying insurance subject to the same
terms, conditions, definitions and exclusions of the First Underlying
Insurance Policy, except for any definitions, terms, conditions and exclusions
of this policy.

5. The Limits of Liability of this policy apply separately to each consecutive
annual period and to any remaining period of less than twelve (12) months,
starting with the beginning of the "policy period" shown in the Declarations,
unless the "policy period" is extended after issuance for an additional period
of less than twelve (12) months. In that case, the additional period will be
deemed part of the last preceding period for purposes of determining the
Limits of Liability.

I. DEFENSE

A. We will not be required to assume charge of the investigation of any claim or
, defense of any suit against you.

B. We will have the right, but not the duty, to be associated with you or your underlying
insurer or both in the investigation of any claim or defense of any suit which in our
opinion may create liability on us for “loss” under this policy. If we exercise such
right, we will do so at our own expense.

C. If the limits of liability of the Underlying Insurance shown in Item 5S. of the
Declarations are exhausted solely by payment of “loss”, we shall have the right but
not the duty to investigate and settle any claim or assume the defense of any suit
which, in our opinion, may give rise to a “loss” under this policy. Such investigation
or defense shall be at our own expense. We may, however, withdraw from the

Page 2 of 6

0101-XS (Ed. 03-00)

Case 2:10-md-02179-CJB-DPC Document 12440-7 Filed 03/03/14 Page 3 of 6

defense of such suit and tender the continued defense to you if our applicable Limits
of Liability shown in Item 4. of the Declarations are exhausted by payment of “loss.”

IV. DEFINITIONS

“Joss” means those sums which you are legally obligated to pay as damages, after making
proper deductions for all recoveries and salvage, which damages are covered by the First
Underlying Insurance Policy.

"Policy period" means the period from the inception date of this policy to the expiration date
stated in the Declarations, or any earlier date of cancellation or termination.

V. CONDITIONS
A. Appeals

In the event you or the insurer(s) of the Underlying Insurance shown in Item 5. of the
Declarations elects not to appeal a judgment in excess of the amount of the
Underlying Insurance, we may elect to appeal at our expense. If we do so elect, we
will be liable for the costs and additional interest accruing during this appeal. In no
event will this provision increase our liability beyond the applicable Limits of
Liability as set forth in Section II. of this policy and as shown in Item 4. Of the
Declarations.

B. Bankruptcy or Insolvency

The bankruptcy, insolvency or inability to pay of any Insured will not relieve us
from our obligation to pay “loss” covered by this policy.

In the event of bankruptcy, insolvency or refusal or inability to pay, of the insurer(s)
of the Underlying Insurance shown in Item 5. of the Declarations, the insurance
afforded by this policy will not replace such Underlying Insurance, but will apply as
if the Underlying Insurance was fully available and collectible.

Cc. Cancellation

1. You may cancel this policy. You must mail or deliver advance written notice
to us stating when the cancellation is to take effect

2. We may cancel this policy. If we cancel because of non-payment of
premium, we will mail or deliver to you not less than ten (10) days advance
written notice stating when the cancellation is to take effect. If we cancel for
any other reason, we will mail or deliver to you not less than thirty (30) days
advance written notice stating when the cancellation is to take effect.
Mailing that notice to you at your mailing address shown in Item 1. of the
Declarations will be sufficient to prove notice.

3. The "policy period" will end on the day and hour stated in the cancellation
notice.

Page 3 of 6

0101-XS (Ed. 03-00)

Case 2:10-md-02179-CJB-DPC Document 12440-7 Filed 03/03/14 Page 4 of 6

0101-XS (Ed. 03-00)

If we cancel, final premium will be calculated pro rata based on the time this
policy was in force. :

If you cancel, final premium will be more than pro rata; it will be based on
the time this policy was in force and increased by our short rate cancellation
table and procedure.

Premium adjustment may be made at the time of cancellation or as soon as
practicable thereafter, but the cancellation will be effective even if we have
not made or offered any refund due you. Our check or our representative’s
check, mailed or delivered, will be sufficient tender of any refund due you.

The Named Insured shown in Item 1. of the Declarations will act on behalf of
all other Insureds with respect to the giving and receiving of notice of

’ cancellation and the receipt of any refund that may become payable under

this policy.

Any of these provision that conflict with a law that controls the cancellation
of the insurance in this policy is changed by this statement to comply with the
law.

Maintenance of Underlying Insurance

During the "policy period", you agree:

1.

To keep the policies listed in the Schedule of Underlying Insurance as shown
in Item 5. of the Declarations in full force and effect;

That the Limits of Liability of the policies listed in the Schedule of
Underlying Insurance as shown in Item 5. of the Declarations will be
maintained except for any reduction or exhaustion of aggregate limits by
payment of "loss" in claims or suits covered by the Underlying Insurance.

If you fail to comply with these requirements, we will only be liable to the same
extent that we would have been had you fully complied with these requirements.

Notice of Occurrence

L.

You must see to it that we are notified as soon as practicable of an occurrence
which may result in a “loss” covered under this policy. To the extent
possible, notice will include:

a) how, when and where the occurrence took place;
b) the names and addresses of any injured persons and witnesses;
c) the nature and location of any injury or damage arising out of the
occurrence,
Page 4 of 6

Case 2:10-md-02179-CJB-DPC Document 12440-7 Filed 03/03/14 Page 5 of 6

0101-XS (Ed. 03-00)

2, If a claim or suit against any Insured is reasonably likely to involve this
policy, you must notify us in writing as soon as practicable.

3, You and any other involved Insured must:

a) immediately send us copies of any demands, notices, summonses or
legal documentation received in connection with a claim or suit;

b) authorize us to obtain records and other information;

c) cooperate with us in the investigation, settlement or defense of the
claim or suit; and

d) assist us, upon our request, in the enforcement of any right against
any person or organization which may be liable to the Insured
because of injury or damage to which this insurance may also apply.

4, The Insureds will not, except at their own cost, voluntarily make a payment,
assume any obligation, or incur any expense, other than for first aid, without
our consent.

Other Insurance

If other insurance applies to a “loss” that is also covered by this policy, this policy
will apply excess of such other insurance. Nothing herein will be construed to make
this policy subject to the definitions, terms, conditions and exclusions of such other
insurance. However, this provision will not apply if the other insurance is
specifically written to be excess of this policy.

Other insurance includes any type of self-insurance, indemnification or other
mechanism by which an Insured arranges for funding of legal liabilities.

Terms Conformed to Statute

The terms of this policy which are in conflict with the statutes of the state where this
policy is issued are amended to conform to such statutes. If we are prevented by law
or statute from paying on behalf of the Insured, then we will, where permitted by law
or statute, indemnify the Insured.

When “Loss” is Payable
Coverage under this policy will not apply unless and until you or the insurer(s) of the
Underlying Insurance shown in Item 5. of the Declarations has paid or is obligated to

pay the full amount of such Limits of Liability.

When the amount of “loss” has finally been determined, we will promptly pay on
your behalf the amount of “loss” covered under this policy.

Page 5 of 6

Case 2:10-md-02179-CJB-DPC Document 12440-7 Filed 03/03/14 Page 6 of 6

In witness whereof, the company has caused this policy to be signed by its President and its
Secretary and countersigned by a duly authorized representative of the company.

A200 Ge Date b Lay

President Secretary

Page 6 of 6

0101-XS (Ed. 03-00)

